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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                             Chapter 11

Windstream Holdings, Inc., et al.,1                                Bankruptcy Case No. 19-22312 (RDD)

                               Debtors.                           (Jointly Administered)


Robert Murray,

                               Appellant,

    v.
                                                                   Case No. 7:19-cv-06744 (CS)
Windstream Holdings, Inc. and Earthlink
Holdings Corp.,

                               Appellees.


DISMISSAL AGREEMENT AND [PROPOSED] ORDER DISMISSING BANKRUPTCY
             APPEAL PURSUANT TO FED. R. BANKR. P. 8023

             WHEREAS, on July 17, 2019, Robert Murray (“Appellant”) commenced the above-

captioned bankruptcy appeal (the “Appeal”) by filing a notice of appeal from the July 3, 2019

Order Denying Motion of Securities Lead Plaintiff to Dismiss Adversary Complaint and

Extending the Automatic Stay to Non-Debtor Defendants in the Securities Class Action entered

by the Honorable Robert D. Drain, United States Bankruptcy Judge, United States Bankruptcy

Court for the Southern District of New York.

             WHEREAS, on September 21, 2020, the confirmed chapter 11 plan of reorganization of

Appellees and their debtor affiliates became effective by its terms (the “Effective Date”).
1
         The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
         number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
         the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
         complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
         agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these
         chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.


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       WHEREAS, the Parties agree that due to the occurrence of the Effective Date, the Appeal

is now moot and should be dismissed pursuant to Federal Rule of Bankruptcy Procedure 8023,

which provides in pertinent part that “[t]he clerk of the district court . . . must dismiss an appeal

if the parties file a signed dismissal agreement specifying how costs are to be paid and pay any

fees that are due.”

       WHEREAS, Appellant paid the filing fee at the time he filed a notice of this Appeal, no

other fees are due in connection with the Appeal, and the Parties have agreed to bear their own

respective costs in connection with the Appeal.

       NOW, THEREFORE, it is hereby stipulated and agreed by the Parties, by and through

their undersigned counsel and subject to approval by this Court, that:

       1.      The Appeal is voluntarily dismisssed as moot pursuant to Fed. R. Bankr. P. 8023.

       2.      Upon approval of this Dismissal Agreement and [Proposed] Order Dismissing

Bankruptcy Appeal Pursuant to Fed. R. Bankr. P. 8023, the Clerk of the Court shall close the

Appeal.

                                     [ signature page follows ]




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Dated: October 20, 2020

Respectfully submitted,

LOWENSTEIN SANDLER LLP               KIRKLAND & ELLIS LLP
                                     KIRKLAND & ELLIS INTERNATIONAL LLP

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                                     Counsel to Appellees




                                  October 20 2020
                           XX_______________,
SO ORDERED this ______ day of


______________________________
Honorable Cathy Seibel
United States District Judge




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